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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

 TELMA 0. HALL,

               Plaintiff,
                                                 CASE NO. 16-cv-593-JTA
 v.

 ALABAMA STATE UNIVERSITY,

               Defendant.

                                         VERDICT
       Do you find from a preponderance of the evidence:

1      That Alabama State University suspended Telma Hall?

                     Answer Yes or No

If your answer is "No," this ends your deliberations, and your foreperson should sign and

date the last page of this verdict form. If your answer is "Yes," then go to the next question.

2.     That Telma Hall's gender was a motivating factor that prompted Alabama State

University to suspend her?

                     Answer Yes or No        yFs
If your answer is "No," this ends your deliberations, and your foreperson should sign and

date the last page of this verdict form. If your answer is "Yes," then go to the next question.

3.     That Telma Hall should be awarded damages to compensate for emotional pain and

mental anguish?

                     Answer Yes or No         E,6

If your answer is "Yes", in what amount? $                00 ODO
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SO SAY WE ALL,


                               FOREPERSON'S SIGNATURE



DATE:    1,31      /0 -4   ‘




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